Case:
Case:1:14-cv-00872
      1:14-cv-00872Document
                   Document#:
                            #:81Filed:
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Case:
Case:1:14-cv-00872
      1:14-cv-00872Document
                   Document#:
                            #:81Filed:
                                Filed:02/26/14
                                       02/07/14Page
                                               Page22of
                                                     of12
                                                        12PageID
                                                          PageID#:26
                                                                 #:2
Case:
Case:1:14-cv-00872
      1:14-cv-00872Document
                   Document#:
                            #:81Filed:
                                Filed:02/26/14
                                       02/07/14Page
                                               Page33of
                                                     of12
                                                        12PageID
                                                          PageID#:27
                                                                 #:3
Case:
Case:1:14-cv-00872
      1:14-cv-00872Document
                   Document#:
                            #:81Filed:
                                Filed:02/26/14
                                       02/07/14Page
                                               Page44of
                                                     of12
                                                        12PageID
                                                          PageID#:28
                                                                 #:4
Case:
Case:1:14-cv-00872
      1:14-cv-00872Document
                   Document#:
                            #:81Filed:
                                Filed:02/26/14
                                       02/07/14Page
                                               Page55of
                                                     of12
                                                        12PageID
                                                          PageID#:29
                                                                 #:5
Case:
Case:1:14-cv-00872
      1:14-cv-00872Document
                   Document#:
                            #:81Filed:
                                Filed:02/26/14
                                       02/07/14Page
                                               Page66of
                                                     of12
                                                        12PageID
                                                          PageID#:30
                                                                 #:6
Case:
Case:1:14-cv-00872
      1:14-cv-00872Document
                   Document#:
                            #:81Filed:
                                Filed:02/26/14
                                       02/07/14Page
                                               Page77of
                                                     of12
                                                        12PageID
                                                          PageID#:31
                                                                 #:7
Case:
Case:1:14-cv-00872
      1:14-cv-00872Document
                   Document#:
                            #:81Filed:
                                Filed:02/26/14
                                       02/07/14Page
                                               Page88of
                                                     of12
                                                        12PageID
                                                          PageID#:32
                                                                 #:8
Case:
Case:1:14-cv-00872
      1:14-cv-00872Document
                   Document#:
                            #:81Filed:
                                Filed:02/26/14
                                       02/07/14Page
                                               Page99of
                                                     of12
                                                        12PageID
                                                          PageID#:33
                                                                 #:9
Case: 1:14-cv-00872 Document #: 8
                                1 Filed: 02/26/14
                                         02/07/14 Page 10 of 12 PageID #:34
                                                                       #:10
Case: 1:14-cv-00872 Document #: 8
                                1 Filed: 02/26/14
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Case: 1:14-cv-00872 Document #: 8
                                1 Filed: 02/26/14
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